                    Case 2:98-cr-00034-LGW-JEG Document 484 Filed 09/23/05 Page 1 of 3
AO 245D (Rev 12/03) Judgment in a Criminal Case for Revocations                                            U .S_ D ISTRICT COURT
         Sheet I                                                                                           SouthBrfl D1S t rict of Georgia
                                                                                                                      Filed Pl Mice
                                                                                                                            ~ M.
                                      United States District Court 2® aJ _
                                                    SOUTHERN DISTRICT OF GEORGIA
                                                        BRUNSWICK DIVISIONN Far  lark
                                                                                    k
          UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CAS E
                  V.                      (For Revocation of Probation or Supervised Release )




                   Brian Glover                                                         Case Number :            CR298-00034-00 5

                                                                                        USM Number:              09895-02 1

                                                                                         Ron Harriso n
                                                                                         Defendant's Attorne y
THE DEFENDANT :
[X] admitted guilt to violation of the mandatory condition of the term of supervision .
[X] was found in violation of the standard conditions after denial of guilt .

The defendant is adjudicated guilty of these violations :

  Violation Number Nature of Violation Violation Ended
            1 The defendant failed to refrain from unlawful use of a controlled August 4, 2005
                      substance (mandatory condition) .
                                                        See page 2 for additional violations .

        The defendant is sentenced as provided in pages 2 through 3 of this judgment . The sentence is imposed pursuant to the Sentencing
Reform Act of 1984 .


          The defendant has not violated condition(s), and is discharged as to such violation(s) condition .


         It is ordered that the defendant must notify the United States a ttorn ey for this district within 30 days of any change of name,
residence , or mailing address until a ll fines , restitution , costs, and special assessments imposed by this judgment are fully paid . If ordered
to pay restitution , the defendant must notify the court and United States a ttorn ey of material changes in economic circumstances .


Defendant's Soc . Sec . No :

Defendant's Date of Birth :           September 22, 2005

                                                                                                 Date of Imposition of Judgmen t



Defendant's Re sidence Address :
                                                                                                 Signature of Judge




                                                                                                 Judge, U .S . District Cour t
Defendant's Mailing Address :
                                                                                                 Name and Title of Judg e


                                                                                                 Date
                    Case 2:98-cr-00034-LGW-JEG Document 484 Filed 09/23/05 Page 2 of 3
AO 245D (Rev 12/03) Judgment in a Criminal Case for Revocations :                    Judgment- Page 2 of 3
        Sheet 1 A

DEFENDANT : Brian Glover
CASE NUMBER : CR298-00034-005
                                                      ADDITIONAL VIOLATION S

                                                                                      Violation
 Violation Number Nature of Violation                                                  Ende d

           2 The defendant failed to submit truthful and complete written August 2005
                    reports within the first five days of each month (standard
                    condition) .
           3 The defendant failed to work regularly at a lawful occupation and August 2005
                    was not excused by the probation officer for schooling, training ,
                    or other acceptable reasons (standard condition) .
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AO 245D (Rev 12/03) Judgment in a Cri minal Case for Revocations :                                                    Judgment -Page 3 of 3
       Sheet 2 - Imprisonmen t


DEFENDANT : Brian Glover
CASE NUMBER : CR298-00034-005
                                                                 IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned
          for a total term of: 12 months and 1 day .

[X] The Court makes the following recommendations to the Bureau of Prisons :

          That the defendant be imp ri soned at the facility located in Jesup , Georgia .

[X] The defendant is remanded to the custody of the United States Marshal .
     The defendant shall surrender to the United States Marshal for this district,

          [ ] at _ [ ] a.m. [ ] p.m . o n
          [ ] as notified by the United States Marshal .


[ ] The defend ant shall surrender for service of sentence at the institution designated by the Bureau of Prisons :


                 before 2 p .m . o n
                 as notified by the United States Marshal .
                 as notified by the Probation or Pret rial Services Office .

                                                                      RETURN
          I have executed this judgment as follows :




          Defendant delivered on t o

                                                                     with a certified copy of this judgment .




                                                                                                        United States Marshal


                                                                                              By
                                                                                                     Deputy United States Marshal
